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                                                               United States District Court
                                                                  Southern District of Texas

                                                                     ENTERED
                                                                  November 08, 2023
                                                                  Nathan Ochsner, Clerk

                 UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF TEXAS
                      HOUSTON DIVISION

                                § CIVIL ACTION NO
                                § 4:23-cv-03464
                                §
                                §
       IN RE:                   § JUDGE CHARLES ESKRIDGE
       CHESAPEAKE               §
       EXPLORATION LLC          §
                                §
                                §
                                §


                              ORDER

          Pending is a statement by Appellant Market
      Enhancement Clause addressing what effect, if any, the
      allegations of misconduct by Judge David Jones have on
      this appeal. Dkt 3.
          The request by Appellant that the appeal proceed
      without remand and reconsideration by a different
      bankruptcy court judge is GRANTED.
          The appeal will proceed accordingly.
          SO ORDERED.

          Signed on November 8, 2023, at Houston, Texas.



                                   ___________________________
                                   Hon. Charles Eskridge
                                   United States District Judge
